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IN THE UNITED sTATEs DISTRICT coURT g *
FOR THE wEsTERN DISTRICT oF TENNESSEE 'H“'"L‘ `i"' __ z ‘J.::,
wEsTERN DIVISION …

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20265~B[P

BRIAN BELL,

Defendant.

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ORDER TO SHOW CAUSE

 

Before the court is Defendant’s Motion for Discovery filed May
3, 2005 (Dkt #53). This matter was referred to the United States
Magistrate Judge for determination. The United States has not
filed a response, and the time for filing a response to Defendant's
Motion for Discovery' has passed. The United. States is hereby
ORDERED to show cause within eleven (ll) days from the date of this
order why defendant's motion should not be granted.

IT IS SO ORDERED.

 

TU M. PHAM
United States Ma istrate Judge

Y/a~‘z_ O)"

Date

.T`m`s document entered on the docket sheet ln .*'""1.‘" '1"1?"`
W.m we 35 ami/or az(b) FHCrP on § '35~05

 

   

UNITED sTATE DISTRIC CoUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20265 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

